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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MARCELLIN MUKOLO BASENGEZI,

                    Plaintiff,

           v.                                          Civil Action No. 19-cv-03417 (TJK)

 MICHAEL R. POMPEO, in his official
 capacity as Secretary of State, U.S.
 Department of State, and UNITED STATES
 DEPARTMENT OF STATE,

                    Defendants.


                                          JOINT REPORT

        On January 13, 2020, the Court ordered that “by January 27, 2020, the parties shall file a

joint report outlining their respective positions on whether this case is related to Katintima v.

Pompeo, 19-cv-3413 (TSC), and Nangaa v. Pompeo, 19-cv-3416 (ABJ).” Jan. 13, 2020 Minute

Order. The parties jointly file this report in compliance with that directive.

   I.      Defendants’ Position

        Defendants take the position that the instant case is arguably related to both Katintima v.

Pompeo, 19-cv-3413 (TSC), and Nangaa v. Pompeo, 19-cv-3416 (ABJ), in that all three cases

may “grow out of the same event or transaction.” Local Civ. Rule 40.5(a)(3). While the agency

decisions with respect to the individual plaintiffs may vary, the cases feature common issues of

fact and law. But in any event, this District’s standards for case consolidation fully apply to these

three cases. To that end, Defendants have filed a motion to consolidate, which is fully briefed and

pending before Judge Chutkan in Katintima v. Pompeo, 19-cv-3413 (TSC). For the reasons stated

therein, consolidation of the three cases is amply warranted, and is the most efficient and

appropriate path forward. In the event that Judge Chutkan denies the consolidation motion,
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Defendants do not intend to attempt to separately “relate” the cases through any action pursuant to

Local Rule 40.5, and will proceed to litigate each case separately.

    II.       Plaintiff’s Position

          Plaintiff’s position is that the legal claims set forth in this matter, as well as in Katintima v.

Pompeo, 19-cv-3413 (TSC), and Nangaa v. Pompeo, 19-cv-3416 (ABJ), will give rise to fact-

specific legal questions relevant only to each particular case. The contents of the administrative

records underlying Defendants’ actions at issue in each case—which have not yet been disclosed—

will present legal questions specific to the factual allegations made by Defendants in those

administrative records. Specifically, these records include distinct agency findings and conclusions

in support of Defendants’ actions in each matter. Until those administrative records are disclosed, it

cannot be determined that all three cases “grow out of the same event or transaction.” Local Civ.

Rule 40.5(a)(3). Further, following disclosure of the administrative records underlying the

designations, plaintiffs in these cases may decide to amend their complaints in light of the findings

and conclusions contained therein. Accordingly, plaintiff in Katintima v. Pompeo, 19-cv-3413

(TSC) has filed a memorandum in opposition to Defendants’ motion to consolidate in that matter,

which is fully briefed and pending before Judge Chutkan. For the foregoing reasons, consolidation

of the three cases is unwarranted and is, at minimum, premature prior to disclosure of the relevant

administrative records.



Dated January 27, 2020                                    Respectfully submitted,


                                                          JOSEPH H. HUNT
                                                          Assistant Attorney General

                                                          DIANE KELLEHER
                                                          Assistant Branch Director


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